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 I             3.     That           December 3,2ffi2
                             since_-----_laatel-                  .petitionerhas beenand presenfly isa
 2    member in good standing of ttre bar of the highest Court of the State      of            California
 3    where Petitioner regularly practices   law. Petitioner shall   attach a certificate   frorn8:?r*   bar or

 4    from the clerk of ttre supreme court or highest admitting court of each state, territory, or insular

 5    possession of the United States in which the applicant has been admitted to practice law certifying

 6    fte applicanfs membership therein is in good    standing.

 7             4.     That Petitioner was admiued to practice before the following United Staes          Disrict
 8    Courts, United States Circuit Courts of Appeal, the Supreme Court of the United States and Courts

 9    of other States on the daes indicated for each, and that Petitioner is presently a memberin good

l0    standing ofthe bars of said Courts.

ll                            Court                               Date Admitted               BarNumber

t2                  California Supreme Court                         ta3t20a)                     221476

l3        U.S. Court of Appeals for the Ninth Circuit                u27t2003

t4     U.S. District Court, Central District of California           taBt2w2
l5    U.S. District Court, Northern District of California           ta3y20w
l6     U.S. Disuict Court, Eastern    Disrict of California          8tL6t20tt

t7    U.S.   Disrict Coufi, Southem Dissict of California             5t9t2012

18

l9
               5.     That there are or have been no disciplinary proceedings instituted against petitioner,
2A
      nor any suspeursion ofany license, certificate or privilege to appear before any judicial, rqgulatory
2t
      or administrative body, or any resignation or termination in order to avoid disciplinary or
,)
      disbarment proceedings, except as described in detail below:
23

24

25

26

27

28                                                       T,                                              Rw.5/16
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 I              6.         That Petitioner has never been denied admission to the State Bar of Nevada (Give

 2    particulars    if   ever denied admission):

 3

 4

 5

 6                         That Petitioner is a member of good standing in the following Bar Associatisrs.

 7

 8

 9

l0              8.         Petitioner has filed application(s) to appear as counsel under Local Rule               IA I l-2
il    (formerly LR IA l0-2)   during the past three (3) years in the following matters:      (State 'trorc"   if m apflicaioos.)

t2    Date of   Application               Cause                          Title of Court                   Was Application
                                                                       Administrative Body                     Crurted or
13                                                                        or Arbitrator                          Denied

l4                  None

l5
l6
t7
l8
l9                           (If necessary, please attach   a statenrcnt of additional applications)

20              9.         Petitioner cons€nts to the jurisdiction of the courts and disciplinary boards of the

2l    State of Nevada wittr respect to the law of this state goveming the conduct of attomeys to                      fte   same

22    €Dde[rt as a member       of the State Bar of Nevada

23              10.        Petitioner agrees to comply with    fte   standards of professional conduct required             of
a     the membem of the bar of this court.
25              I   l.     Petitioner has disclosed in writing to the client ttrat ilre applicant is not admitted to

26    practice in this jurisdiction and that the client has consented to such representation.

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28                                                              3                                                      Rev- 5/16
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 I           That Petitioner respecfrilly prays that Petitioner be admitted to practice before this Court

 2   FOR THE PI.JRPOSES OF THIS CASE ONLY.

 3

 4
     STATE OF            California           )
 5                                            )
     COI-INTY    OF           Los Angeles     )
 6

 7                    Jason J-   Kim          Petitioner, being   fint duly   sworn, deposes and says:

 8   That the foregoing statements are true.
                                                                                   lJ
 9
                                                                       Petitioner's signature
l0   Subscribed and swom to before me this

ll                                                                                 S€e
                   day   of                                                       Sgned:
t2                                                                                Dated:

l3
                      Notary Public or Clerk of Court
t4
l5
16                    DESIGNATION OF RF^SIDENT ATTORNEY ADMITTED TO
                       THE BAR OF TIIIS COURT AND CONSENT TIIERETO.
t7
              Pursuant to &re requiremenB of the Local Rules of Practice        forthis Court, the Petitioner
l8
      believes it to be in the best interests of the client(s) to designde           Robe,rt A. Ryan
t9                                                                                (name of local cormsel)
      Attomey at Law, member of tre State of Nevada and previously admitted to practice before tre
20
      above.entifled Court as associate resident counsel in this action. The ad&ess and email address            of
2t
      said designated Nevada counsel is:
22

23                               Pisanelli Bice PLLC,400 South Tth Street, Suite 300
                                                    (steet
a
                         Las   Vegas                  .                Nevada                   .J    89101
25                                                                                                   (ap code)

26               (7V2)214-2lm                             RR@pisanellibice.com

27

28                                                        4                                                 Rw.5/16
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                                  /s/ Ashley Eddy




   Dated: May 15, 2020.
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                                                Jurat
      notary public or other officer completing this certificate verifies only the identity of the
            al who signed the document, to which this certificate is attadred, and not the
                           or validiw of that document.



State of California

County   of   Los Angeles

Subscribed and sworn to (or affirmed) before me on this 06 day of Mayr20?.0
byJasonJ. Kirn prorrcd to me on the basis of satisfactory evidence to be the personp vfro
appeared before me.




                                                                                 $w             &




                             OPTIONAL INFORMATION

                        DESCRIPTION OF ATTACHED DOCUMENT

     V5etrteu Pgf tTloN FoR PeRHrcrlor.l -Tb PR*cncC
                                   (rTrLE OR DESCRTPTTON OF DOCUMET{r)

       CASE,ff Hn9rER Ftue rrlo. Z:zo                  -cv- oo3to- JID-X.I             r<*


                            GTuJ oR DESCnrrrroN oF oocuMENT coNTTNUED)
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                                       ATTACHMENT A

                                  Jason J. Kim Court Admissions



                                                               Active
                                                              Member in
                                                                Good
                  Court                Date of Admission      Standing    Bar Number
California Supreme Court                December 3, 2002          Yes       221476
U.S. Court of Appeals for the           January 27, 2003          Yes         -
Ninth Circuit
U.S. District Court for the             December 13, 2002         Yes         -
Central District of California
U.S. District Court for the             December 31, 2009         Yes         -
Northern District of California
U.S. District Court for the             August 16, 2011           Yes         -
Eastern District of California
U.S. District Court for the             May 9, 2012               Yes         -
Southern District of California




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7
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            The State Bar                                            OFFICE OF ATTORNEY REGULATION
            of Caffirnia                                                      & CONSUMER RESOURCES

          180 Howard Street, San Francisco, CA 94105          888-800-3400      AttorneyReBulation @calbar.ca.gov




                           CERT! FICATE OF STAN DI NG




                                                                               March 23,2020




     TO WHOM IT MAY CONCERN:


     This is to certify that according to the records of the State Bar, JASON JONATHAN
     KlM, #221476 was admitted to the practice of law in this state by the Supreme
     Court of California on December 3, 2002 and has been since that date, and is at
     date hereol an ACTIVE licensee of the State Bar of California; and that no
     recommendation for discipline for professional or other misconduct has ever been
     made by the Board of Trustees or a Disciplinary Board to the Supreme Court of the
     State of California.




                                                       THE STATE BAR OF CALIFORNIA




                                                        ,4er,4",'^
                                                       Louise Turner
                                                       Custodian of Records
